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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                                  Chapter 11
                                                 1
 Prime Core Technologies Inc., et al.,
                                                                  Case No. 23-11161 (JKS)
                                                 Debtors.
                                                                  (Jointly Administered)


                                  SUPPLEMENTAL AFFIDAVIT OF SERVICE

        I, Monica Arellano, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

       On or before November 7, 2023, Stretto in accordance with USPS forwarding instructions
served the following documents via first-class mail on thirty-eight (38) confidential parties not
included herein:

     •     Notice of Chapter 11 Bankruptcy Case (Docket No. 46)

     •     Notice of Bar Dates for Filing Proofs of Claim (Docket No. 185)

     •     Notice of Bar Dates for Administrative Expense Claims (Docket No. 186)

     •     [Customized] Official Form 410 Proof of Claim Form (attached hereto as Exhibit A)

     •     Instructions for Proof of Claim (attached hereto as Exhibit B)

        Furthermore, on or before November 7, 2023, Stretto in accordance with USPS forwarding
instructions served the following documents via first-class mail on seven (7) confidential parties
not included herein:

     •     Notice of Bar Dates for Filing Proofs of Claim (Docket No. 185)

     •     Notice of Bar Dates for Administrative Expense Claims (Docket No. 186)

     •     Official Form 410 Proof of Claim Form (attached hereto as Exhibit A)

     •     Instructions for Proof of Claim (attached hereto as Exhibit B)



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______________________________________________
1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
(4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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        Furthermore, on or before November 7, 2023, Stretto in accordance with USPS forwarding
instructions served the following document via first-class mail on the service list attached hereto
as Exhibit C:


   •   Notice of Amendment to Confirmation Schedule (Docket No. 367)

        Furthermore, on November 7, 2023, Stretto in accordance with USPS forwarding
instructions served the following documents via first-class mail on three (3) confidential parties,
not included herein:

   •   Amendment to Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan; and (VI) Granting Related Relief
       (Docket No. 362)

   •   Notice of Amendment to Confirmation Schedule (Docket No. 367)

        Furthermore, on November 8, 2023, at my direction and under my supervision, employees
of Stretto caused the following documents to be served via first-class mail on one (1) confidential
party not included herein, pursuant to USPS forwarding instructions:

   •   Notice of Chapter 11 Bankruptcy Case (Docket No. 46)

   •   Notice of Bar Dates for Filing Proofs of Claim (Docket No. 185)

   •   Notice of Bar Dates for Administrative Expense Claims (Docket No. 186)

   •   [Customized] Official Form 410 Proof of Claim Form (attached hereto as Exhibit A)

   •   Instructions for Proof of Claim (attached hereto as Exhibit B)

        Furthermore, on November 8, 2023, at my direction and under my supervision, employees
of Stretto caused the following document to be served via first-class mail on one (1) confidential
party not included herein, pursuant to USPS forwarding instructions:

   •   Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan (Docket No. 265)


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                    Exhibit A
                               Case 23-11161-JKS                       Doc 459             Filed 11/27/23                 Page 5 of 20
Fill in this information to identify the case:

Name of Debtor & Case Number:
D      Prime Core Technologies Inc. (Case No. 23-11161)
D      Prime Trust, LLC (Case No. 23-11162)
□      Prime IRA LLC (Case No. 23-11164)
D      Prime Digital, LLC (Case No. 23-11168)

United States Bankruptcy Court for the District of Delaware


 Official Form 410
 Proof of Claim                                                                                                                                               04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of
 administrative expenses arising under 11 U.S.C. §503(b)(9), do not use this form to make a request for payment of an administrative expense.
 Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

             Identify the Claim

1. Who is the current
    creditor?
                                Name of the current cre<litor (the person or entity to be paiel for this daim}
                                Other names the creelitor useel with the Clebtor

2. Has this claim been
    acquired from
                                0 No
    someone else?               D Yes. From whom?
3. Where should notices         Where should notices to the creditor be sent?                                Where should payments to the creditor be sent? (if
    and payments to the                                                                                      different)
    creditor be sent?
    Federal Rule of             Name                                                                         Name
    Bankruptcy Procedure
    (FRBP) 2002(g)
                                Number          Street                                                       Number         street

                                City                               state                   ZIPCO<le          City                         State               ZIPCoele

                                Contact phone                                                               Contact phone

                                Contact email                                                               Contact email



                                Uniform claim ielentifier for electronic payments in chapter 13 (if you use one):
                               ------------------------

4. Does this claim amend        0 No
    one already filed?          D Yes. Claim number on court claims registry (if known) __                                           Filed on
                                                                                                                                                  MM I DD   / yyyy



5. Do you know if anyone        0 No
    else has filed a proof
    of claim for this claim?
                                D Yes. Who made the earlier filing?



    Official Form 410                                                      Proof of Claim                                                                            page 1
                          Case
            Give Information    23-11161-JKS
                             About the Claim as of theDoc
                                                       Date459    Filed
                                                            the Case Was11/27/23
                                                                         Filed                      Page 6 of 20

6. Do you have any number      O No
   you use to identify the     O Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: -- -- -- --
   debtor?

7a. How much is the claim?       $____________. Does this amount include interest or other charges?
                                                                      0 No
                                                                      0 Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                             charges required by Bankruptcy Rule 3001(c)(2)(A)

7b. List the number of each type of coin held in your account as of the date the case was filed.

  ARPA Chain________________________               Celo________________________________              Global Business System Token__________
  Balancer____________________________             Celo Dollar__________________________             GMO Japanese Yen___________________
  Band Protocol________________________            Celsius______________________________             Goerli USDC ________________________
  DuDe Peoples Money__________________             ChiliZ______________________________              Graph Token_________________________
  Quant_______________________________             Circuits of Value______________________           Harmony ONE_______________________
  $USDCDrop.com_____________________               Civic_______________________________              Hedera Hashgraph_____________________
  Tether USD__________________________             Co2Bit Carbon Token__________________             HEX_______________________________
  1INCH______________________________              CoinFlex Vote Token__________________             Hillstone.Finance_____________________
  7EVEN Utility Token__________________            Compound___________________________               HOLO______________________________
  Aave Interest Bearing DAI______________          Compound DAI_______________________               Hong Kong Token_____________________
  Aave Interest Bearing ETH______________          Compound Ether______________________              HyFi_______________________________
  Aave Interest Bearing TUSD____________           Compound USD Coin__________________               IDEX Token_________________________
  AAVE Token________________________               Compound Wrapped BTC______________                Internet of Things 5th-Generation________
  Adventure Gold_______________________            Cosmos Hub_________________________               Inverse Finance_______________________
  AGX Coin___________________________              COTI_______________________________               IoTeX______________________________
  AGX COIN (AVAX) __________________               Crescent Network_____________________             JiuLove_____________________________
  Alchemix____________________________             Crypto Perx__________________________             Kard Coin___________________________
  Alchemy Pay_________________________             Crypto20____________________________              Keep Token__________________________
  Algorand____________________________             cTether_____________________________              Kusama_____________________________
  Amber______________________________              Curve DAO Token____________________               Kyber Network_______________________
  AMP Token__________________________              Dai_________________________________              Kyber Network Crystal v2______________
  Ampleforth__________________________             Dalarnia_____________________________             LCX________________________________
  Ampleforth Governance________________            DAO Maker_________________________                Lendingblock________________________
  Andrey Voronkov Ventures Promo_______            Dash_______________________________               LINK_______________________________
  Ankr Network________________________             Decentraland_________________________             Litecoin_____________________________
  API3_______________________________              DeFi Pulse Index______________________            Livepeer____________________________
  Arbitrum____________________________             DerivaDAO__________________________               LODE Token_________________________
  Audius______________________________             DigitalBits___________________________            Loopring____________________________
  Augur______________________________              Digitalbits___________________________            Lottery Tickets_______________________
  AUX Coin___________________________              Dogecoin____________________________              Lumens_____________________________
  Aux Coin____________________________             Drep________________________________              Maker______________________________
  Avalanche___________________________             dYdX Token_________________________               Marlin POND________________________
  Aventus_____________________________             eCash_______________________________              MATH______________________________
  Axie Infinity Shard____________________          Ellipsis_____________________________             Matic_______________________________
  B21 Token___________________________             Enjin Coin___________________________             Matic Gas Token______________________
  BADGER___________________________                EOS________________________________               Matic Token_________________________
  Bancor______________________________             Ethereum____________________________              MCO2______________________________
  Basic Attention Token_________________           Ethereum Classic Test__________________           Melon______________________________
  Binance Beacon ETH__________________             Ethereum Name Service________________             Mero Currency_______________________
  Binance Coin_________________________            EURST_____________________________                MIR Protocol________________________
  Binance USD________________________              Fake USDC Token ____________________              Monavale___________________________
  Binance-Peg Filecoin__________________           Fantom_____________________________               MonkeyCoin_________________________
  Binance-Peg Tether____________________           FingerPrint__________________________             MultiVAC___________________________
  Binance-Peg USD Coin________________             FLEX Coin__________________________               MyNeighborAlice_____________________
  Bitcoin______________________________            flexUSD____________________________               NEAR Protocol_______________________
  Bitcoin Cash_________________________            Frax________________________________              Numeraire___________________________
  Bitcoin SV___________________________            FTX Token__________________________               OK Blockchain_______________________
  Bitfinex LEO Token___________________            FXtrading___________________________              OmiseGO___________________________
  BitRewards__________________________             Gala________________________________              Optimistic Ethereum___________________
  Bluzelle_____________________________            Gala V2_____________________________              Orchid______________________________
  Carbon USD_________________________              Game.com___________________________               PancakeSwap Token___________________
  Cardano_____________________________             Gemini Dollar________________________             PARSIQ____________________________
  Cartesi Token________________________            Gitcoin______________________________             Pax Dollar___________________________
  CelerToken__________________________             Glo Dollar___________________________             Paxos Standard_______________________

 Official Form 410                                             Proof of Claim                                                                page 2
 Perpetual Protocol______________  Sheesha Finance_______________
                             Case 23-11161-JKS           Doc 459                  TestToken____________________
                                                                                   Filed 11/27/23 Page 7 ofUSD        20Velero___________________
 PlayDapp_____________________     Shiba Inu_____________________                 Tether (Omni) _________________   USDC (Avalanche)_____________
 Polkadot______________________    Silverway____________________                  Tether USD___________________     USDK_______________________
 PolkastarterToken______________   Solana_______________________                                                    Wrapped Bitcoin_______________
                                                                                  Tezos________________________
                                                                                                                    Wrapped ROSE _Wormhole______
 Power Ledger_________________     SPELL_______________________                   Toucan Protocol________________ Wrapped RVN________________
 Project Galaxy_________________   Spera________________________                  TRIBE________________________ Wrapped UST Token___________
 Qubit________________________     Stable Coin USD_______________                 Tron_________________________     XRP_________________________
 Radicle______________________     StableUSD____________________                  TrueUSD_____________________      XY Oracle_____________________
 Rai Reflex Index_______________   StaFi________________________                  Tuition Coin Polygon____________  Yearn Finance__________________
 Rarible______________________     Storj_________________________                                                   ZRX_________________________
                                                                                  UKR Chain____________________
                                                                                                                    Zytara USD___________________
 Recover Value USD____________     SUPER______________________                    UMA_________________________      Other________________________
 REN________________________       SushiToken___________________                  Unbanked Token________________
 Request_____________________      SushiToken (Solana) ___________                Uniswap______________________
 RNDR_______________________       Switch_______________________                  USD Coin_____________________
 Sai Stablecoin v1.0 (SAI)________ Synthetix Network Token________                USD Coin (Fantom)_____________
 SAND_______________________       Terra Classic Luna_____________                USD Coin (Polygon)_____________
 Sense_______________________      Terra Classic USD_____________                 USD Coin (Solana)______________
 Shaggy Coin__________________     Terra Luna 2.0________________                 USD Coin (Stellar)_______________

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim   O No
   secured?                      0 Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                           0 Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                          Attachment (Official Form 410-A) with this Proof of Claim.
                                           0 Motor vehicle
                                           0 Other. Descr be:


                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.}


                                           Value of property                             $_______
                                           Amount of the claim that is secured:          $________

                                           Amount of the claim that is unsecured: $________ (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $_________



                                           Annual Interest Rate (when case was filed) ___%
                                           0 Fixed
                                           0 Variable


10. Is this claim based on a     O No
    lease?
                                 0 Yes. Amount necessary to cure any default as of the date of the petition.                  $_________


11. Is this claim subject to a   0 No
    right of setoff?
                                 0 Yes. Identify the property __________________________




 Official Form 410                                                   Proof of Claim                                                                      page 3
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                    Exhibit B
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                                12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                               A Proof of Claim form and any attached documents
                                                                          must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the                number, individual’s tax identification number, or
   date the case was filed.                                               financial account number, and only the year of any
                                                                          person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                        For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                       full name and address of the child’s parent or
   then state the identity of the last party who owned the                guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred               Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                          Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the          Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                       To receive confirmation that the claim has been filed, either
   definition of redaction on the next page.)
                                                                       enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show              form or go to https://cases.stretto.com/primetrust
   perfection of any security interest or any assignments or
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
                                                                       Understand the terms used in this form
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                       Administrative expense: Generally, an expense that arises
                                                                       after a bankruptcy case is filed in connection with operating,
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                       liquidating, or distributing the bankruptcy estate.
                                                                       11 U.S.C. § 503.

 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care                 Claim: A creditor’s right to receive payment for a debt that
   information. Leave out or redact confidential                        the debtor owed on the date the debtor filed for bankruptcy.
   information both in the claim and in the attached                    11 U.S.C. §101 (5). A claim may be secured or unsecured.
   documents.
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Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising from       Secured claim under 11 U.S.C. §506(a): A claim backed by
the value of any goods received by the Debtor within 20 days       a lien on particular property of the debtor. A claim is secured
before the date of commencement of the above case, in which        to the extent that a creditor has the right to be paid from the
the goods have been sold to the Debtor in the ordinary course      property before other creditors are paid. The amount of a
of the Debtor's business. Attach documentation supporting          secured claim usually cannot be more than the value of the
such claim.                                                        particular property on which the creditor has a lien. Any
                                                                   amount owed to a creditor that is more than the value of the
                                                                   property normally may be an unsecured claim. But exceptions
Creditor: A person, corporation, or other entity to whom a
                                                                   exist; for example, see 11 U.S.C. § 1322(b) and the final
debtor owes a debt that was incurred on or before the date the
                                                                   sentence of 1325(a).
debtor filed for bankruptcy. 11 U.S.C. §101 (10).
                                                                   Examples of liens on property include a mortgage on real
Debtor: A person, corporation, or other entity who is in           estate or a security interest in a car. A lien may be voluntarily
bankruptcy. Use the debtor’s name and case number as shown         granted by a debtor or may be obtained through a court
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).       proceeding. In some states, a court judgment may be a lien.


Evidence of perfection: Evidence of perfection of a security       Setoff: Occurs when a creditor pays itself with money
interest may include documents showing that a security             belonging to the debtor that it is holding, or by canceling a
interest has been filed or recorded, such as a mortgage, lien,     debt it owes to the debtor.
certificate of title, or financing statement.
                                                                   Uniform claim identifier: An optional 24-character identifier
Information that is entitled to privacy: A Proof of Claim          that some creditors use to facilitate electronic payment.
form and any attached documents must show only the last 4
digits of any social security number, an individual’s tax          Unsecured claim: A claim that does not meet the
identification number, or a financial account number, only the     requirements of a secured claim. A claim may be unsecured in
initials of a minor’s name, and only the year of any person’s      part to the extent that the amount of the claim is more than the
date of birth. If a claim is based on delivering health care       value of the property on which a creditor has a lien.
goods or services, limit the disclosure of the goods or
services to avoid embarrassment or disclosure of confidential
health care information. You may later be required to give         Offers to purchase a claim
more information if the trustee or someone else in interest
objects to the claim.                                              Certain entities purchase claims for an amount that is less than
                                                                   the face value of the claims. These entities may contact
                                                                   creditors offering to purchase their claims. Some written
Priority claim: A claim within a category of unsecured claims
                                                                   communications from these entities may easily be confused
that is entitled to priority under 11 U.S.C. §507(a). These
                                                                   with official court documentation or communications from the
claims are paid from the available money or
                                                                   debtor. These entities do not represent the bankruptcy court,
property in a bankruptcy case before other unsecured
                                                                   the bankruptcy trustee, or the debtor. A creditor has no
claims are paid. Common priority unsecured claims
                                                                   obligation to sell its claim. However, if a creditor decides to
include alimony, child support, taxes, and certain unpaid
                                                                   sell its claim, any transfer of that claim is subject to
wages.
                                                                   Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
                                                                   Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
Proof of claim: A form that shows the amount of debt the           the bankruptcy court that apply.
debtor owed to a creditor on the date of the bankruptcy filing.
The form must be filed in the district where the case is
pending.


Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of
Claim form and any attached documents.


Do not file these instructions with your form.
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                    Exhibit C
                                              Case 23-11161-JKS        Doc 459     Filed 11/27/23        Page 13 of 20

                                                                        Exhibit C
                                                                 Served Via First-Class Mail
                             Name                   Attention               Address 1          Address 2       City    State     Zip
                     CoLabs Int'l Corp.                              5028 Abington Ridge Ln                Franklin    TN    37067-6509
                     Compass Minning, Inc.    Attn: Jameson Nunney   101 S Reid St             Ste 307     Sioux Falls SD    57103-7045




In re: Prime Core Technologies Inc., et al.
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                    Exhibit D
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    Prime Core Technologies Inc., et al., 1                    Case No. 23-11161 (JKS)

                                        Debtors.               (Jointly Administered)

                                                               Obj. Deadline: November 7, 2023, at 4 p.m. (ET)
                                                               Hr’g Date: November 14, 2023, at 1:00 p.m. (ET)


                NOTICE OF NON-VOTING STATUS AND CONFIRMATION HEARING

         On October 5, 2023, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) held a hearing (the “Conditional Approval Hearing”) at which it approved on a
conditional basis the Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code with Respect
to Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and Its Affiliated Debtors
[Docket No. 259] (as amended, supplemented or otherwise modified from time to time, according to its
terms, the “Disclosure Statement”) of Prime Core Technologies Inc. and its affiliated debtors in the
above-captioned chapter 11 cases (collectively, the “Debtors”), and thereafter entered an order (the
“Conditional Approval Order”) with respect thereto. The Conditional Approval Order, among other
things, authorizes the Debtors to solicit votes to accept the Joint Chapter 11 Plan of Reorganization for
Prime Core Technologies Inc. and Its Affiliated Debtors filed on October 5, 2023 [Docket No. 258] (as
amended, supplemented or otherwise modified from time to time, according to its terms, the “Plan”).

        UNDER THE TERMS OF THE PLAN, YOUR CLAIM(S) AGAINST AND/OR
INTEREST(S) IN THE DEBTORS IS (ARE) NOT ENTITLED TO VOTE ON THE PLAN.
CLAIMS IN CLASSES 1A, 1B, 2, 6 AND 7 ARE UNIMPAIRED AND CONCLUSIVELY
PRESUMED TO ACCEPT THE PLAN. CLAIMS AND INTERESTS IN CLASSES 5 AND 8 ARE
IMPAIRED AND DEEMED TO REJECT THE PLAN. IF YOU HAVE ANY QUESTIONS
ABOUT THE STATUS OF YOUR CLAIM OR INTEREST YOU SHOULD CONTACT THE
CLAIMS AGENT BY (A) WRITING TO PRIME CORE TECHNOLOGIES INC., ET AL.
CLAIMS PROCESSING CENTER, C/O STRETTO, 410 EXCHANGE, SUITE 100, IRVINE, CA
92602; (B) BY EMAIL AT PRIMECOREINQUIRIES@STRETTO.COM WITH A REFERENCE
TO “PRIME CORE TECHNOLOGIES INC.” IN THE SUBJECT LINE; or (C) BY TELEPHONE
AT +1-303-536-6996 (INTERNATIONAL) OR (888) 533-4753 (U.S./CANADA TOLL-FREE).

          YOU WILL NOT BE SERVED WITH A COPY OF THE CONDITIONAL APPROVAL
ORDER, THE DISCLOSURE STATEMENT AND THE PLAN. Copies of the Disclosure Statement,
the Plan, and the Conditional Approval Order may be obtained free of charge from Bankruptcy
Management Solutions, Inc. d/b/a Stretto (“Stretto” or the “Claims Agent”) (a) by accessing the Debtors’
restructuring website at https://cases.stretto.com/primetrust/; (b) by writing to Prime Core Technologies
Inc., et al. Claims Processing Center, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (c) by

1
       The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
       number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436); and Prime
       Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, Nevada
       89135.
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email at PrimeCoreInquiries@stretto.com with a reference to “Prime Core Technologies Inc.” in the
subject line; or (d) by telephone at +1-303-536-6996 (International) or (888) 533-4753 (U.S./Canada Toll-
Free); or for a fee via PACER at http://ecf.deb.uscourts.gov.

PLEASE TAKE FURTHER NOTICE THAT EXHIBIT 1 ATTACHED HERETO SETS FORTH
THE INJUNCTION, EXCULPATION AND RELEASE PROVISIONS SET FORTH IN ARTICLE
10 OF THE PLAN.

PLEASE TAKE FURTHER NOTICE THAT, UPON CONFIRMATION OF THE PLAN, ANY
NON-VOTING PARTY DEEMED TO REJECT THE PLAN WILL BE DEEMED TO HAVE
CONSENTED TO THE RELEASE PROVISIONS SET FORTH IN ARTICLE 10 OF THE PLAN,
AS PROVIDED IN EXHIBIT 1 HERETO, UNLESS SUCH PARTY FILES AN OBJECTION TO,
OR COMPLETES AND RETURNS THE OPT-OUT NOTICE BELOW TO THE CLAIMS
AGENT, WITH RESPECT TO THE RELEASE PROVISIONS SET FORTH IN ARTICLE 10 OF
THE PLAN BY THE OBJECTION DEADLINE (AS DEFINED BELOW). ANY SUCH NON-
VOTING PARTY THAT OBJECTS TO, OR SUBMITS AN OPT-OUT FORM AS OUTLINED
BELOW, THE RELEASE PROVISIONS SET FORTH IN ARTICLE 10 OF THE PLAN WILL
BE CONDITIONALLY DEEMED TO OPT OUT OF SUCH RELEASE PROVISIONS;
PROVIDED THAT THE DEBTORS RESERVE THE RIGHT TO REPLY TO SUCH
OBJECTION ON THE BASIS THAT THE PARTY SHOULD BE DEEMED TO GRANT THE
RELEASE.

         A hearing to consider final approval of the adequacy of information contained in the Disclosure
Statement pursuant to Bankruptcy Code section 1125 and confirmation of the Plan pursuant to
Bankruptcy Code section 1129 is scheduled to take place on November 14, 2023, at 1:00 p.m.
(prevailing Eastern Time) before the Honorable J. Kate Stickles (the “Confirmation Hearing”), but may
be continued from time to time without further notice other than the announcement of the adjourned
date(s) at the Confirmation Hearing or any continued hearing or as indicated in any agenda of matters
scheduled for hearing filed with the Court.

         The deadline for filing objections to final approval of the Disclosure Statement or confirmation of
the Plan is November 7, 2023, at 4:00 p.m. (prevailing Eastern Time). Any objection must, (i) be in
writing, (ii) comply with the Bankruptcy Rules and the Local Rules, and (iii) be filed with the Court and
served upon the following parties: (a) proposed counsel to the Debtors, McDermott Will & Emery LLP
(i) 1000 N. West Street, Suite 1400, Wilmington, Delaware 19801, (Attn: Maris J. Kandestin
(mkandestin@mwe.com)), (ii) One Vanderbilt Avenue, New York, New York 10017-3852 (Attn: Darren
Azman (dazman@mwe.com)), and (iii) 333 SE 2nd Avenue, Suite 4500, Miami, Florida 33131 (Attn:
Gregg Steinman (gsteinman@mwe.com)); (b) proposed counsel to the Committee, Brown Rudnick LLP,
7 Times Square, New York, NY 10036 (Attn: Robert Stark (rstark@brownrudnick.com); Bennett
Silverberg (bsilverberg@brownrudnick.com)); and (c) the United States Trustee for the District of
Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: Joseph F. Cudia
(joseph.cudia@usdoj.gov)).


                                     Binding Nature of the Plan:

         If confirmed, the Plan will bind all Holders to the maximum extent permitted by
         applicable law, whether or not such Holder will receive or retain any property or
     interest in property under the Plan, has filed a Proof of Claim in these cases, or failed to
                    vote to accept or reject the Plan or voted to reject the Plan.
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                                        Optional: Release Opt-Out

If you choose to opt-out of the release provisions set forth in Article 10 of the Plan and as set forth
on Exhibit 1 hereto, you must file an objection to such provisions with the Bankruptcy Court or
complete the information below, check the box to opt-out, and return this Notice to the Claims
Agent via U.S. first-class mail to Prime Core Technologies Inc., et al. Claims Processing Center,
c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602 by the Voting Deadline.

⸋       By Checking this box, you elect to opt-out of the release provisions set forth in Article 10 of
        the Plan.

Name: ________________________             Class: ___________         Amount of Claim:______________




    Dated: October 6, 2023
           Wilmington, Delaware

    Respectfully submitted,
                                   MCDERMOTT WILL & EMERY LLP
    Maris J. Kandestin (No. 5294)       Darren Azman                               Gregg Steinman
    1000 N. West Street, Suite 1400     Joseph B. Evans                            333 SE 2nd Avenue,
    Wilmington, Delaware 19801          J. Greer Griffith                          Suite 4500
    Telephone: (302) 485-3900           One Vanderbilt Avenue                      Miami, Florida 33131
    Facsimile: (302) 351-8711           New York, New York 10017-3852              Telephone: (305) 358-
    Email: mkandestin@mwe.com           Telephone: (212) 547-5400                  3500
                                        Facsimile: (646) 547-5444                  Facsimile: (305) 347-
                                        Email: dazman@mwe.com                      6500
                                                jbevans@mwe.com                    Email:
                                                ggriffith@mwe.com                  gsteinman@mwe.com
                                Counsel to the Debtors and Debtors in Possession
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                                                       Exhibit 1

                                Injunction, Exculpation and Release Provisions

         10.5     Releases by Holders of Claims and Interests.

         Except as otherwise expressly set forth in the Plan or the Confirmation Order, on and after
the Effective Date, in exchange for good and valuable consideration, the adequacy of which is
hereby confirmed, each Released Party is, and is deemed to be, hereby conclusively, absolutely,
unconditionally, irrevocably and forever, released by each Releasing Party2 from any and all
Causes of Action, other than any 98f Wallet Causes of Action, whether known or unknown,
foreseen or unforeseen, matured or unmatured, existing or hereafter arising, contingent or non-
contingent, in law, equity, contract, tort, or otherwise, including any derivative claims asserted on
behalf of the Debtors, that such Person would have been legally entitled to assert (whether
individually or collectively), based on or relating to, or in any manner arising from, in whole or in
part, any of the Debtors (including the capital structure, management, ownership, or operation
thereof), any security of any of the Debtors, any of the Reorganized Debtors, or the Wind-Down
Debtor, the subject matter of, or the transactions or events giving rise to, any Claim or Interest that
is treated in the Plan, the business or contractual arrangements between any Debtor and any
Released Party, the assertion or enforcement of rights and remedies against any of the Debtors, the
Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions held by any of the
Debtor(s) or their Estates, intercompany transactions between or among an Debtor and another
Debtor, the formulation, preparation, dissemination, negotiation, or Filing of the Chapter 11 Cases,
the Bid Procedures Order, Disclosure Statement, the Plan (including, for the avoidance of doubt,
the Plan Supplement), any Definitive Document, any Plan Document, any Reorganization
Transaction Document, any Sale Transaction Document, any Liquidation Transaction Document,
any Reorganization Transactions, dollarization of Cryptocurrency, any Reorganization
Transactions contemplated by the Plan, any contract, instrument, release, or other agreement or
document created or entered into, whether before or during the Chapter 11 Cases, in connection
with the Filing of the Debtors’ Chapter 11 Cases, the Bid Procedures Order, the Disclosure
Statement, the Plan (including, for the avoidance of doubt, the Plan Supplement), any
Reorganization Transactions, any Definitive Document, any Plan Document, any Reorganization
Transaction Document, any Sale Transaction Document, any Liquidation Transaction Document,
any Reorganization Transactions, dollarization of Cryptocurrency, the solicitation of votes with
respect to the Plan, the pursuit of Confirmation of the Plan, the pursuit of Consummation of the
Plan, and the administration implementation of the Plan. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in this Article 10.5 shall not be construed as (i)
releasing any Released Party from Claims or Causes of Action arising from an act or omission that
is judicially determined by a Final Order to have constituted actual fraud, willful misconduct, or
gross negligence; (ii) releasing any post-Effective Date obligations of or under (A) any party or

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          “Releasing Parties” means collectively, and in each case, solely in their respective capacities as such: (a)
the Released Parties; (b) all Holders of Claims and Interests that are deemed to accept this Plan and who do not
either affirmatively opt out of the releases provided by the Plan or file an objection with the Bankruptcy Court
objecting to the releases set forth in Article 10.5 of the Plan; (c) all Holders of Claims who (i) vote to accept or reject
the Plan, or (ii) abstain from voting and, in the case of either (i) or (ii), do not affirmatively opt out of the voluntary
release contained in Article 10.5 of the Plan by checking the “opt-out” box on the ballot and returning it in
accordance with the instructions set forth thereon or file an objection with the Bankruptcy Court objecting to the
releases set forth in Article 10.5 of the Plan; provided, however, that if (i) the Asset Purchase Agreement is
terminated, the Purchaser shall not be a “Releasing Party” under the Plan and (ii) the Plan Sponsorship Agreement is
terminated, the Plan Sponsor shall not be a “Releasing Party” under the Plan. For the avoidance of doubt, no Holder
of any Claim or Interest that is deemed to reject this Plan shall be a Releasing Party.
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Entity under the Plan, (B) any Executory Contract or Unexpired Lease to the extent such
Executory Contract or Unexpired Lease has been assumed by the Debtors pursuant to a Final
Order, or (C) any document, instrument, or agreement executed to implement the Plan; (iii)
releasing any rights to distributions required to be paid or delivered pursuant to the Plan or the
Confirmation Order; (v) releasing or discharging any properly-pled direct claim (other than claims
against the Debtors) held by a creditor that is not a Releasing Party. For the avoidance of doubt, to
the extent that any creditor had a direct claim against a non-Debtor under applicable non-
bankruptcy law (other than a fraudulent transfer claim) prior to the Petition Date, such claim did
not vest in the Debtors on the Petition Date and remains property of such creditor.

         10.6     Exculpation.

        Effective as of the Effective Date, to the fullest extent permissible under applicable law and
without affecting or limiting either the Debtor release or the third party release, and except as
otherwise specifically provided in the Plan, no Exculpated Party 3 shall have or incur, and each
Exculpated Party is exculpated from any Cause of Action for any act or omission arising on or after
the Petition Date and prior to the Effective Date based on the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation or filing, or consummation of the Disclosure Statement, the
Bid Procedures Order, the Plan, any Definitive Document, any Plan Document, any Reorganization
Transaction Document, any Sale Transaction Document, any Liquidation Transaction Document,
any Restructuring Transactions, dollarization of Cryptocurrency, any contract, instrument, release,
or other agreement or document created or entered into in connection with the Disclosure
Statement, the Plan or any Restructuring Transactions, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation of the Plan, the administration of the
Chapter 11 Cases, the administration and implementation of the Plan, including the issuance of
Securities pursuant to the Plan, or the distribution of property under the Plan or any other related
agreement (including, for the avoidance of doubt, providing any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document, or other agreement
contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the Confirmation
Order in lieu of such legal opinion), except for Causes of Action related to any act or omission that
is determined in a Final Order of a court of competent jurisdiction to have constituted actual fraud,
willful misconduct, malpractice, or gross negligence, but in all respects such Entities shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan.

        The Exculpated Parties have, and upon Consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan.




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          “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) each of the Debtors;
(b) the Reorganized Debtors; (c) the Wind-Down Debtor; (d) the Special Committee, and each of the members
thereof, solely in their capacity as such; (e) the Creditors’ Committee, and each of the members thereof, solely in
their capacity as such; (f) each of the Released Professionals; (g) the Current Directors and Officers, and Persons
employed by each of the Debtors and their Affiliates serving in such capacity on or after the Petition Date but before
the Effective Date; (h) the Plan Administrator; (i) the Distribution Agent; (j) Cooley LLP; and (k) J.S. Held LLC.
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        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the exculpations
set forth in this Article 10.6.

        10.7    Injunction.

        (a)               Upon entry of the Confirmation Order, all Holders of Claims and Interests
and other parties in interest, along with their respective present or former employees, members,
managers, agents, officers, directors, principals, and affiliates, shall be enjoined from taking any
actions to interfere with the implementation or Consummation of the Plan in relation to any Claim
extinguished, or released pursuant to the Plan.
        (b)               Except as expressly provided in the Plan, the Confirmation Order, or a
separate order of the Bankruptcy Court or as agreed to by the Debtors and a Holder of a Claim
against or Interest in the Debtors, all Entities who have held, hold, or may hold Claims against or
Interests in the Debtors (whether or not proof of such Claims or Interests has been filed and
whether or not such Entities vote in favor of, against or abstain from voting on the Plan or are
presumed to have accepted or deemed to have rejected the Plan) and other parties in interest, along
with their respective present or former employees, members, managers, agents, officers, directors,
principals, and affiliates are permanently enjoined, on and after the Effective Date, solely with
respect to any Claims, Interests, and Causes of Action that will be or are extinguished, or released
pursuant to the Plan from (i) commencing, conducting, or continuing in any manner, directly or
indirectly, any suit, action, or other proceeding of any kind (including, without limitation, any
proceeding in a judicial, arbitral, administrative or other forum) against or affecting the Debtors,
the Wind-Down Debtor, the Creditors’ Litigation Trust, or the property of any of the Debtors, the
Reorganized Debtors, the Wind-Down Debtor, the Creditors’ Litigation Trust, or their respective
properties or Estates, as applicable; (ii) enforcing, levying, attaching (including, without limitation,
any prejudgment attachment), collecting, or otherwise recovering by any manner or means,
whether directly or indirectly, any judgment, award, decree, or order against the Debtors, the
Wind-Down Debtor, the Creditors’ Litigation Trust, or the property of any of the Debtors, the
Wind-Down Debtor, the Creditors’ Litigation Trust, the Reorganized Debtors, or their respective
Estates; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
encumbrance of any kind against the Debtors, the Wind-Down Debtor, the Creditors’ Litigation
Trust, or the property of any of the Debtors, the Wind-Down Debtor, the Creditors’ Litigation
Trust, the Reorganized Debtors, or against their respective Estates; (iv) asserting any right of setoff,
directly or indirectly, against any obligation due from the Debtors, the Wind-Down Debtor, the
Creditors’ Litigation Trust, or against the property of any of the Debtors, the Wind-Down Debtor,
the Creditors’ Litigation Trust, the Reorganized Debtors, or their respective Estates, or against
property or interests in property of any of the Debtors, the Wind-Down Debtor, or the Creditors’
Litigation Trust, except as contemplated or allowed by the Plan; and (v) acting or proceeding in any
manner, in any place whatsoever, that does not conform to or comply with the provisions of the
Plan.

        (c)               By accepting distributions pursuant to the Plan, each Holder of an Allowed
Claim or Interest extinguished, or released pursuant to the Plan shall be deemed to have
affirmatively and specifically consented to be bound by the Plan, including, without limitation, the
injunctions set forth in this Article 10.7

       (d)              The injunctions in this Article 10.7 shall extend to any successors of the
Debtors, the Reorganized Debtors, or the Wind-Down Debtor, as applicable, and their respective
property and interests in property.
